                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
Michael McKeown,                       )
                                       )
                 Plaintiff,            )
                                       )
v.                                     )         COMPLAINT
                                       )
Blue Diamond Transportation, Inc.,     )
Black Tie Transportation, Inc., and    )
Gray K. Hill,                          )
                                       )
                       Defendants.     )
_______________________________________)
I.   PRELIMINARY STATEMENT

     1.      This is an individual action pursuant to the Fair Labor
Standards Act ("FLSA"), 29 U.S.C. §216(b), and the NC Wage and Hour Act

("NCWHA"),   N.C.Gen.Stat.   §§95-25.1    et   seq.   by   one   former   employee
against the two closely-held corporations that employed that employee as
a dispatcher in a business enterprise organized to provide private
executive transportation under the common control of the President of
both of those corporations, Grant K. Hill, from April 2016 through the

middle of March 2018 in Morrisville, North Carolina.
     2.      The defendants Blue Diamond Transportation, Inc. and Back Tie
Transportation, Inc. are part of a single enterprise that was and is

operated by Grant K. Hill, the President of both of those corporate

defendants since at least 2014.      This action is brought under the FLSA
and, in part, under the NCWHA for unpaid overtime wages and promised
wages at the hourly rate that the defendants disclosed to the plaintiff

pursuant to N.C.Gen.Stat. §§ 95-25.13(1)-(2) based upon the defendants’
failure to pay the named plaintiff the wages that he was and is due on
or before his regular payday at the overtime and promised rate required

by and disclosed under 29 U.S.C. § 207(a) and N.C.Gen.Stat. §§ 95-25.6




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and 95-25.13(1)-(2) when the plaintiff performed more than forty hours

worked in the same workweek from April 2016 through March 2018.
      3.     In     the    alternative,      in      the    event      that     the    plaintiff’s

employment by the defendants in excess of 40 hours in the same workweek

is not covered by the FLSA, this action is brought under N.C.Gen.Stat.
§§ 95-25.4, 95-25.13(1)-(2), and 95-25.22(a)-(a1) of the NCWHA and the

NCWHA statutes cited in ¶2 above of this Complaint based upon the

defendants’ failure to pay the named plaintiff all promised wages as
described     in    ¶2     above    and    at       the    overtime      rates        required   by
N.C.Gen.Stat.       §     95-25.4   that   were       disclosed         to    him     pursuant   to

N.C.Gen.Stat.       §§     95-25.13(1)-(2)          and     at    the        rate     required   by

N.C.Gen.Stat. §§ 95-25.4 and 95-25.6 when those wages were due on his
regular payday pursuant to N.C.Gen.Stat. §§ 95-25.6 and 95-25.22(a)-(a1)
of the NCWHA for those workweeks in which the plaintiff was employed in

the time period from April 2016 through March 2018 by one or more of the
named defendants to work in excess of forty hours in the same workweek.
      4.     Based upon his claim under 29 U.S.C. § 207 of the Fair Labor
Standards Act, his NCWHA claim under N.C.Gen.Stat. §§ 95-25.6 and 95-
25.13(1)-(2)       that    are   described      in    ¶2    above,      and     the    plaintiff’s

alternative claims under N.C.Gen.Stat. §§ 95-25.4, 95-25.6, and 95-

25.13(1)-(2) of the NCWHA that are described in ¶3 above, the plaintiff
seeks payment of back wages and an equal amount of liquidated damages,

attorney    fees,       interest,    and   costs          under   29     U.S.C.       §216(b)    and

N.C.Gen.Stat. §§95-25.22(a), (a1), and (d).
II.   JURISDICTION
      5.     Jurisdiction is conferred upon this Court pursuant to 28

U.S.C. §§1331 and 1337, 29 U.S.C. § 216(b), and 28 U.S.C. §1367(a).

      6.     This Court has the power to grant declaratory relief pursuant



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to 28 U.S.C. Sections 2201 and 2202.
III. VENUE

      7.     Venue over this action lies in this Court pursuant to 28

U.S.C. §§1391(b)(2), 1391(c)(2), and 1391(d), and 29 U.S.C. §216(b).        At
all times relevant to this action continuing through the present date, a

substantial part of the events or omissions giving rise to this action
by the plaintiff occurred in one or more of the counties listed in 28

U.S.C. § 113(a), and defendants operated and continue to operate one

establishment of the enterprise they operate in an office located at 133
Southcenter Court, Suite 1100, Morrisville, North Carolina 27560 in
Wake County, North Carolina at all times relevant to this action.

IV.   NAMED PLAINTIFF
      8.     Plaintiff Michael McKeown is a resident of Raleigh, North
Carolina who was jointly and severally employed by defendants Blue
Diamond Transportation, Inc., Black Tie Transportation, Inc., and Gray

K. Hill, as part of closely held enterprise that was and is part of a
single business enterprise operated on a day-to-day basis by Gray K.
Hill, the President of both Diamond Transportation, Inc. and Black Tie

Transportation, Inc.     Beginning on or about April 11, 2016 and ending on
or about March 16, 2018, the defendants jointly and severally suffered
or permitted the plaintiff to work for them as a dispatcher in the

private executive transportation business they owned and operated within
the meaning of 29 U.S.C. §§203(d) and 203(m) and N.C.Gen.Stat. §95-

25.2(3) as part of the single business enterprise operated under the

common control of defendant Grant K. Hill.
V.    DEFENDANTS

      9.     Upon information and belief, at all times relevant to this

action,     defendant   Blue   Diamond   Transportation,   Inc.   (hereinafter



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referred to as “Blue Diamond”) at an establishment located at 133

Southcenter Court, Suite 1100, Morrisville, North Carolina 27560, in
Wake County, North Carolina, was and continues to be a closely-held,

for-profit corporation organized under the laws of the State of North

Carolina       that     along   with   defendant         Black     Tie    Transportation,      Inc.
(hereinafter referred to as “Black Tie”), another closely-held, for-

profit corporation organized under the laws of the State of North

Carolina        with    an   establishment          located      at      3050    Ridgewood    Road,
Winston-Salem,          North      Carolina        27107,     in      Forsyth     County,     North
Carolina, was and is part of a single transportation enterprise with

more    than     one     establishment    that         provided,       among     other     forms   of

transportation services, private executive transportation.                            At all times
relevant to this action, the plaintiff was employed as a dispatcher for
private       executive      transportation         services       provided      by   this    single

transportation enterprise that was operated and continues to be operated
under the common control of and on a day-to-day basis by the President
of both Blue Diamond and Black Tie, defendant Gray K. Hill, for the
common business purpose of providing transportation services to members
of     the    general     public    starting        in   or    about      1989    and    continuing

thereafter through the present date as defined in 29 U.S.C. §§203(d),

203(m), 203(r), and 203(s)(1), and N.C.G.S. §95-25.2(3) and 95-25.2(18).
http://blacktietransportation.net/ and http://bluediamondus.com/ (last
accessed March 10, 2018).

        10.     During the time period from April 11, 2016 through on or

about March 16, 2018, Blue Diamond, Black Tie, and Gray K. Hill jointly
and severally employed the plaintiff as a dispatcher in the Morrisville,

North        Carolina    establishment        of    Blue      Diamond      to    provide     private

executive transportation services as part of the single enterprise that



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is described in ¶9 above.                 As part of that employment, those same

defendants directed, controlled, and supervised the day-to-day work of
the plaintiff through their onsite, daily supervision of the plaintiff

in the Blue Diamond business establishment located at 133 Southcenter

Court, Suite 1100, Morrisville, North Carolina.
      11.      Upon   information        and    belief, during calendar years 2015,

2016, and 2017, the defendants Blue Diamond and Black Tie were operated

and   continue    to     be    operated        as       part    of     a    single    transportation
enterprise at the establishments described in ¶9 above by defendant Gray
K. Hill had a combined annual gross volume of sales made or business

done of not less than $500,000 exclusive of excise taxes at the retail

level that were separately stated.
      12.      During   calendar        year    2015,          2016   and     2017,   the    plaintiff
and/or one or more employees of the single transportation enterprise

consisting of the establishments of defendants Blue Diamond and Black
Tie handled goods or equipment that had moved in interstate commerce
within   the    meaning       of   29    U.S.C.         §   203(s)(1)(A).            Those    goods   or
equipment      included,       but      were        not        limited      to,      the     electronic
communications        equipment,        telephones,          and      other    software      that     the

plaintiff and/or similarly situated employees handled for that same

single transportation enterprise as part of their regular employment
duties for that same single transportation enterprise made up of the

business establishments of Blue Diamond and Black Tie.

      13.      At all times relevant to this complaint, defendant Gray K.
Hill has been and continues to be the President and owner of both

defendant Blue Diamond and Black Tie as alleged in ¶¶9 and 11 above.
During that same time period, defendant Hill has resided and continues

to reside at 271 Hidden Creek Drive, Advance, North Carolina 27006 in



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Davie County, North Carolina.

       14.   At all times relevant to this action, defendant Blue Diamond
is and has been organized as a closely-held ,for profit corporation

under the laws of the state of North Carolina, with its principal office

at 133 Southcenter Court, Suite 1100, Morrisville, North Carolina 27560
in    Wake   County,   North   Carolina,      with   an    internet        website   at

http://bluediamondus.com/,     and    its    registered    agent     for   service   of

process has been and is its President, Gray K. Hill, 271 Hidden Creek

Drive, Advance, NC 27006.
       14A. At all times relevant to this action, defendant Black Tie is
and has been organized as a closely-held ,for profit corporation under
the laws of the state of North Carolina, with its principal office at

3050 Ridgewood Road, Winston-Salem, North Carolina 27107 in Forsyth
County, North Carolina, with an internet website at,
http://blacktietransportation.net/, and its registered agent for service

of process has been and is its President, Gray K. Hill, 271 Hidden Creek
Drive, Advance, NC 27006.
VI.    FACTUAL ALLEGATIONS
       15.   Defendants Blue Diamond, Black Tie, and jointly and severally
employed the named plaintiff as described in ¶¶8-14A, inclusive, above
of this complaint to work as a dispatcher to provide private executive

transportation services out of the Morrisville, North Carolina business
establishment    of    defendant     Black    Diamond     in   the    transportation

enterprise that the defendants operated in and around one or more

counties located in those counties that are among those listed in 28
U.S.C. §§ 113(a)-(b).

       16.   As part of the employment described in paragraph 15 above,

the plaintiff was regularly required to use the internet by interstate



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electronic mail and the telephone to communicate with private executive

transportation     customers    and   drivers      employed     by   the   defendants’
enterprise    to   provide     executive       transportation   services    to   those

customers in order to perform his primary job duty to route, communicate

with and track the provision of those services by those drivers to those
customers in the defendants’ transportation enterprise.

     16A. As part of his work as a dispatcher in the defendants’

enterprise, the plaintiff did not exercise any discretion in planning
driver assignments within U.S. Department of Transportation requirements
in any way that affected driver overtime pay.

     16B. As part of his work as a dispatcher in the defendants’

enterprise, the plaintiff did not have any disciplinary authority over
the drivers he dispatched.
     16C. As part of his work as a dispatcher in the defendants’

enterprise, the plaintiff did not have any authority to recommend hiring
and firing of the drivers who operated the private executive vehicles
that the defendants’ enterprise provided.
     16D. As part of his work as a dispatcher in the defendants’
enterprise, the plaintiff did not arrange matters of route-planning,

compliance with state weight limitations, or vehicle maintenance.

     16E. As part of his work as a dispatcher in the defendants’
enterprise, the plaintiff did not assign drivers to jobs, coordinate

with customers, or decide whether to use certain drivers.

     16F. As part of his work as a dispatcher in the defendants’
enterprise, the plaintiff did not supervise or train any other employees

or drivers who were employed in the defendants’ enterprise.
     17.     Upon information and belief, pursuant to N.C.Gen.Stat. §§ 95-

25.13(1)-(2), for that joint and several employment of the plaintiff as



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a dispatcher employed in the defendants’ transportation enterprise, the

defendants disclosed to plaintiff as part of the defendants’ employment
practices and policies with regard to promised wages that one or more of

the defendants would pay him at 1½ times the regular rate at which the

defendants employed him for all hours worked in excess of 40 hours in
the same workweek.

     18.      With the knowledge of the defendants, the plaintiff regularly

worked more than forty (40) hours worked per workweek in virtually every
workweek if not all workweeks that the plaintiff was employed as a
dispatcher in the defendants’ enterprise.

     19.      At no time during the time period that the plaintiff was

employed     in    the    defendants’    enterprise    did    any    defendant,    either
individually or in any combination, compensate him at 1½ times the
regular rate at which he was jointly and severally employed by the

defendants    for    any    workweek     in   which   the    defendants    employed   the
plaintiff in the defendants’ enterprise for more than forty (40) hours
worked in the same workweek.
     20.      At no time after the plaintiff voluntarily terminated his
employment    in    the    defendants’    enterprise    did    any   defendant,    either

individually or in any combination, compensate him at 1½ times the

regular rate at which he was jointly and severally employed by the
defendants    for    any    workweek     in   which   the    defendants    employed   the

plaintiff in the defendants’ enterprise for more than forty (40) hours

worked in the same workweek..
     21.      As a direct and proximate result of the actions and omissions

that are alleged in ¶¶15-16 and 18-20, inclusive, above, the plaintiff
who worked in excess of forty (40) hours in the same workweek in

virtually    every       workweek   during    his   employment      in   the   defendants’



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enterprise in the time period from on or about April 11, 2016 through on

or about March 16, 2018 did not receive wages at the rate and in the
amount required by 29 U.S.C. § 207 or, in the alternative, in the amount

required by N.C.Gen.Stat. § 95-25.4 when those wages were due on his

regular weekly payday in violation of N.C.Gen.Stat. § 95-25.6.
      22.     As a direct and proximate result of the actions and omissions

that are alleged in ¶¶15-20 above, the plaintiff who worked in excess of

forty (40) hours in the same workweek in virtually every workweek during
his employment in the defendants’ enterprise in the time period from on
or about April 11, 2016 through on or about March 16, 2018 did not

receive all of the wages he was due when those wages were due him on his

regular payday at 1½ times the regular rate at which was employed by the
defendants in the defendants’ enterprise in violation of N.C.Gen.Stat. §
95-25.6.

      23.     During the workweek(s) described in ¶¶15-20, inclusive, the
named plaintiff had and has an express or implied agreement with the
defendants that one or more of the defendants would pay him all promised
wages when those wages were due on the regular payday for those wages at
the rate and for the hours worked that one or more of the defendants

disclosed to him pursuant to N.C.Gen.Stat. §§ 95-25.6 and 95-25.13(1)-

(2)   for    all   hours   worked   that   the   named   plaintiff   performed   for
defendants as alleged above.

      24.     The defendants have not complied and, upon information and

belief, will not comply with the express or implied agreement described
in ¶23 above, and by failing to comply, has failed to pay the named

plaintiff all of the wages that the named plaintiff were and are due
when those wages were due in violation of G.S. § 95-25.6.

VII. FIRST CLAIM FOR RELIEF (FLSA § 207 against all defendants)



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      25.   Paragraphs 1 through 24 above are realleged and incorporated

herein by reference by the named plaintiff pursuant to 29 U.S.C. §§
207(a) and 216(b) against all defendants.

      26.   Defendant Gray K. Hill operated the defendants Blue Diamond

and Black Tie as two establishments in a transportation enterprise that
employed the plaintiff as a dispatcher to provide private executive

transportation services when those defendants did not pay all wages due

to the named plaintiff at the rates required by 29 U.S.C. § 207(a) for
the work described in ¶¶8-24 above of this Complaint.
      27.   As a result of these actions of the defendants in violation

of 29 U.S.C. § 207(a), the named plaintiff has suffered damages in the

form of unpaid wages and liquidated damages that may be recovered under
29 U.S.C. §216(b).
VIII. SECOND CLAIM FOR RELIEF (NCWHA § 95-25.6)
      28.   Paragraphs 1 through 24 above are realleged and incorporated
herein by reference by the named plaintiff.
      29.   The defendants did not pay the plaintiff all wages due when

those wages were due to the named plaintiff for the work described in
¶¶8-24 above of this Complaint in violation of the disclosures described
in¶17 above, in violation of the agreement described in ¶¶23-24 above of

this Complaint, and in violation of N.C.Gen.Stat. §§ 95-25.13(1)-(2),

and 95-25.6.
      30.   As a result of these actions of the defendants in violation
of the rights of the named plaintiff under N.C.Gen.Stat. §§ 95-25.13(1)-

(2) and 95-25.6, the named plaintiff has suffered damages in the form of

unpaid   wages   and   liquidated   damages   that   may   be   recovered   under
N.C.Gen.Stat. §§95-25.22(a) and 95-25.22(a1).

IX.   THIRD CLAIM FOR RELIEF (Alternative Claim - NCWHA §§ 95-25.3



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            & 95-25.4)
     31.    In the alternative to the First Claim for Relief alleged in

¶¶28-30 above of the complaint, in the event that the plaintiff’s

employment by the defendants is not covered by the FLSA, ¶¶1 through 24
above are realleged and incorporated herein by reference by the named

plaintiff against all defendants under the NCWHA.
     32.    The defendants did not pay all promised wages due when those

wages were due to the named plaintiff on his regular payday for the

hours worked described in ¶¶8-24 above of this Complaint in violation of
N.C.Gen.Stat. §§ 95-25.4, 95-25.6, and 95-25.13(1)-(2).

     33.    The defendants did not pay all wages due when those wages
were due at the rates required by N.C.Gen.Stat. § 95-25.4 to the named
plaintiff   for   the   hours   worked   described   in   ¶¶8-24   above   of   this

Complaint in violation of N.C.Gen.Stat. §§ 95-25.4 and 95-25.6.
     34.    As a result of these actions of the defendants in violation
of the rights of the named plaintiff under N.C.Gen.Stat. §§ 95-25.4, 95-
25.6, and 95-25.13(1)-(2), the named plaintiff has suffered damages in

the form of unpaid wages and liquidated damages that may be recovered
under N.C.Gen.Stat. §§95-25.22(a) and 95-25.22(a1).
     WHEREFORE Plaintiff respectfully requests that the Court:
     (a)    Grant a jury trial on all issues so triable;

     (b)    Enter judgment under the FSLA against defendants Blue Diamond
Transportation, Inc., Black Tie Transportation, Inc., and Grant K.

Hill, jointly and severally, and in favor of the named plaintiff for

compensatory damages against those same defendants under the First Claim
for Relief in an amount equal to the total of the unpaid wages due the

named plaintiff under 29 U.S.C. §§ 207(a) and 216(b) for each workweek

in which the named plaintiff performed more than 40 hours worked in the



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same workweek as described in ¶¶8-24 above of the Complaint, plus an

equal additional amount as liquidated damages under 29 U.S.C. §216(b),
plus interest in the manner and at the rate allowed by law;

        (c)    Enter    judgment      under    the     NCWHA   against    defendants     Blue

Diamond Transportation, Inc., Black Tie Transportation, Inc., and Grant
K. Hill, jointly and severally, and in favor of the named plaintiff for

compensatory damages against those same defendants under the Second

Claim for Relief in an amount equal to the total of the unpaid promised
wages due the named plaintiff under N.C.Gen.Stat. §§ 95-25.6 and 95-
25.13(1)-(2), and in favor of the named plaintiff for compensatory

damages against those same defendants under the Second Claim for Relief

in an amount equal to the total of the unpaid promised wages due the
named    plaintiff      under      G.S.    §§95-25.6    and    95-25.13(1)-(2)     for   any
workweek      in    which    the   named    plaintiff     performed      the   hours   worked

described in ¶¶8-24 of the Complaint, plus an equal additional amount as
liquidated         damages   under    G.S.§§95-25.22(a)        and    95-25.22(a1),      plus
interest in the manner and at the rate prescribed in N.C.Gen.Stat. §95-
25.22(a);
        (d)    in the alternative to the relief prayed for in ¶(b) above

under the FLSA, enter judgment under the NCWHA against defendants Blue

Diamond Transportation, Inc., Black Tie Transportation, Inc., and Grant
K. Hill, jointly and severally, and in favor of the named plaintiff for

compensatory damages against those same defendants under the Third Claim

for Relief in an amount equal to the total of the unpaid wages due the
named plaintiff under G.S. §§ 95-25.4, 95-25.6, and 95-25.13(1)-(2) for

any workweek in which the named plaintiff performed the hours worked
described in ¶¶8-24 of the Complaint, plus an equal additional amount as

liquidated         damages   under    G.S.§§95-25.22(a)        and    95-25.22(a1),      plus



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interest in the manner and at the rate prescribed in N.C.Gen.Stat. §95-

25.22(a);
       (e)   Award the named plaintiff the costs of this action against

the    defendants    Blue   Diamond      Transportation,   Inc.,   Black   Tie

Transportation, Inc., and Grant K. Hill, jointly and severally;
       (f)   Award the named plaintiff reasonable attorney fees under and

N.C.Gen.Stat. §95-25.22(d) and 29 U.S.C. §216(b) against the defendants

Blue Diamond Transportation, Inc., Black Tie Transportation, Inc., and
Grant K. Hill, jointly and severally;
       (g)   Award   prejudgment   and   post judgment interest against the

defendants Blue Diamond Transportation, Inc., Black Tie Transportation,

Inc., and Grant K. Hill, jointly and severally, at the highest amount
authorized by applicable law on any amount of monetary damages awarded
for back wages as requested in paragraph (c) and (d) of this Prayer for

Relief based upon such date(s) as may be appropriate under applicable
law;
       (h)   Award such other relief as may be just and proper in this
action.
             This the 2nd day of April, 2018.
                                      LAW OFFICE OF ROBERT J. WILLIS, P.A.
                               BY:/s/Robert J. Willis
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